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                            IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                         }
           Plaintiff,                             }
                                                  }
                vs.                               }       Case No. 05-20050-01/02/03/04/05-KHV
                                                  }
                                                  }
BLAS MOTA, et al.,                                }
           Defendants.                            }

                                                 ORDER

        The Defendants Blas Mota, Rafael Estrada-Najera, and Victor Valenzuela-Rodriguez, have filed

motions for extension of the time within which to file pretrial motions (Doc. #56, 57, 58).

        The motions for extension are granted at the request of the defendants. All defendants shall have

until May 23, 2005, in which to file pretrial motions. The government shall have until May 31, 2005, in

which to respond. Motions are set for hearing before the Court on June 6, 2005 at 9:30 a.m. The court

finds that any period of delay resulting for such extension shall be excluded in computing the time within

which the trial of this action must commence. 18 U.S.C. Section 3161(h)(1)(F). Specifically, the time from

the filing of the motion for an extension, May 5, 2005 shall be excluded. If other motions are filed there

will be further exclusion of Speedy Trial Act time.

        For the reasons stated in the defendants’ motion the court finds that the ends of justice served by

granting the extension outweigh the best interest of the public and the defendant in a speedy trial.

        The clerk is directed to transmit copies or notices of this order to counsel of record.

        BY THE COURT IT IS SO ORDERED.

        Dated at Kansas City, Kansas, May 10, 2005.

                                                  s/ Kathryn H. Vratil
                                                  Kathryn H. Vratil
                                                  United States District Judge
